STATE EMPLOYEES — DUAL EMPLOYMENT **** IT IS A VIOLATION OF THE OKLAHOMA CODE OF ETHICS, AND POSSIBLY THE OKLAHOMA BUDGET LAW OF 1947 AND THE OKLAHOMA CRIMINAL CODE AS WELL, FOR A PERSON WHO IS A FULL TIME EMPLOYEE OF ONE STATE AGENCY TO ACCEPT EMPLOYMENT FROM ANOTHER STATE AGENCY WHEN THE HOURS OF WORK OF BOTH JOBS ARE CONTEMPORANEOUS AND WHEN THE PERSON SO EMPLOYED RECEIVES COMPENSATION FROM BOTH AGENCIES.   WHEN A FULL TIME EMPLOYEE OF A STATE AGENCY ACCEPTS EMPLOYMENT ON A TEMPORARY OR OTHER BASIS FROM ANOTHER STATE AGENCY WITH THE HOURS OF WORK FOR BOTH AGENCIES BEING CONTEMPORANEOUS, AND WHEN THE PERSON SO EMPLOYED RECEIVES COMPENSATION FOR BOTH EMPLOYMENTS, THE STATE ETHICS COMMISSION IS RESPONSIBLE FOR DETERMINING THE APPLICABILITY OF THE PENALTY PROVISIONS OF THE OKLAHOMA CODE OF ETHICS, THE DISTRICT ATTORNEY OF THE COUNTY WHERE THE ALLEGED ILLEGALITY OCCURRED IS RESPONSIBLE FOR DETERMINING THE APPLICABILITY OF THE OKLAHOMA CRIMINAL CODE, AND THE STATE BUDGET DIRECTOR IS RESPONSIBLE FOR ASCERTAINING THE PROPER COURSE OF ACTION REQUIRED BY THE OKLAHOMA BUDGET LAW OF 1947.  == SEE: OPINION NO. 88-023 (1989) ** SEE OPINION NO. 91-578 (1991) ** SEE OPINION NO. 91-567 (1991)